Case 5:20-cr-00004-RWS-CMC Document 28 Filed 10/20/20 Page 1 of 2 PageID #: 75


                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                      TEXARKANA DIVISION




 UNITED STATES OF AMERICA                         §
                                                  §
 v.                                               §                           5:20-CR-4
                                                  §
 WILLIAM JOHNSON SPRINGER                         §


                                 ORDER ADOPTING
                        THE REPORT AND RECOMMENDATION
                      OF THE UNITED STATES MAGISTRATE JUDGE

          The above-styled matter was referred to the Honorable Caroline Craven, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Craven conducted a hearing on October 5, 2020, in the form and manner prescribed

 by Federal Rule of Criminal Procedure 11 and issued a Report and Recommendation (document #26).

 Judge Craven recommended that the Court accept Defendant’s guilty plea and conditionally approve

 the plea agreement. She further recommended that the Court finally adjudge Defendant as guilty of

 Count 1 of the Indictment, which charges a violation of 18 U.S.C. § 2252A(a)(5)(B) and (b)(2),

 possession of child pornography. The Court is of the opinion that the Report and Recommendation

 should be accepted. It is accordingly ORDERED that the Report and Recommendation of the United

 States Magistrate Judge (document #26) is ADOPTED. It is further

          ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,

 the plea agreement is approved by the Court, conditioned upon a review of the presentence report. It

 is finally

          ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant

 GUILTY of Count 1 of the Indictment in the above-numbered cause and enters a JUDGMENT OF
Case 5:20-cr-00004-RWS-CMC Document 28 Filed 10/20/20 Page 2 of 2 PageID #: 76




 GUILTY against the Defendant as to Count 1 of the Indictment.


        SIGNED this 20th day of October, 2020.



                                                         ____________________________________
                                                         ROBERT W. SCHROEDER III
                                                         UNITED STATES DISTRICT JUDGE




                                                2
